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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH CAROLINA

Chandel Richard Hoffman,                                     )   C/A: 4:20-3902-SAL-TER
Black Hills Holdings LLC,                                    )
                                 Plaintiffs,                 )
                                                             )             ORDER
vs.                                                          )
                                                             )
American Airlines, Inc.,                                     )
American Airlines Holdings, Inc.,                            )
Expedia Group,                                               )
Department of Homeland Security,                             )
                                                             )
                                 Defendants.                 )
                                                             )
___________________________________________

       This is a civil action filed by a pro se litigant who paid the filing fee. Under Local Civil Rule
73.02(B)(2) of the United States District Court for the District Court of South Carolina, pretrial
proceedings in this action have been referred to the assigned United States Magistrate Judge.

TO THE CLERK OF COURT:

        The above-captioned case is subject to summary dismissal. Hence, the Office of the Clerk
of Court is directed not to issue any summons at this time in the above-captioned case, unless
instructed by a United States District Judge or a Senior United States District Judge to do so.

TO PLAINTIFF:

        Plaintiff must place the civil action number listed above on any document provided to the
Court provided in connection with this case. Any future filings must be sent to the address below.
All documents requiring Plaintiff’s signature shall be signed with Plaintiff’s full legal name written
in Plaintiff’s own handwriting. Pro se litigants, such as Plaintiff, shall not use the “s/typed name”
format used in the Electronic Case Filing System. In all future filings with this Court, Plaintiff is
directed to use letter-sized (8½ inches by 11 inches) paper only, to write or type text on one side of
a sheet of paper only and not to write or type on both sides of any sheet of paper. Plaintiff is further
instructed not to write to the edge of the paper, but to maintain one-inch margins on the top, bottom,
and sides of each paper submitted.

        Plaintiff is a pro se litigant. Plaintiff’s attention is directed to the following important notice:

        You are ordered to always keep the Clerk of Court advised in writing (Post Office
        Box 2316, Florence, South Carolina 29503) if your address changes for any reason,
        so as to assure that orders or other matters that specify deadlines for you to meet will
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       be received by you. If as a result of your failure to comply with this Order, you fail
       to meet a deadline set by this Court, your case may be dismissed for violating this
       Order. Therefore, if you have a change of address before this case is ended, you must
       comply with this Order by immediately advising the Clerk of Court in writing of such
       change of address and providing the Court with the docket numbers of all pending
       cases you have filed with this Court. Your failure to do so will not be excused by the
       Court.



       IT IS SO ORDERED.


                                                             s/ Thomas E. Rogers, III
                                                             Thomas E. Rogers, III
                                                             United States Magistrate Judge
January 12, 2021
Florence, South Carolina




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